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      Attorneys for Defendant and Counter Claimant Acacia Communications, Inc.
 15
 16                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
 17
      ViaSat, Inc.,                                             Case No. 3:16-cv-00463-BEN-JMA
 18   a Delaware corporation,
 19                                                             ACACIA COMMUNICATIONS,
                       Plaintiff                                INC.’S MOTION TO FILE UNDER
 20                    and Counter Defendant,                   SEAL DOCUMENTS ASSOCIATED
 21   v.                                                        WITH ITS MOTION FOR PARTIAL
                                                                SUMMARY JUDGMENT
 22   Acacia Communications, Inc.,                              REGARDING DAMAGES
      a Delaware corporation,
 23
                                                                Judge: Hon. Roger T. Benitez
 24                    Defendant                                Mag. Judge: Hon. Jan M. Adler
                       and Counter Claimant
 25
                                                                Date: February 20, 2018
 26                                                             Time: 10:30 a.m.
 27                                                             Courtroom: 5A

 28

      Acacia Communications, Inc.’s Motion to File Under Seal Documents Associated   Case No. 3:16-CV-00463-BEN-JMA
      with its Motion for Partial Summary Judgment Regarding Damages
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  1           Pursuant to Federal Rule of Civil Procedure 26(c), Local Rule 79.2(c), ECF
  2   Administrative Policies and Procedures 2(j), the Stipulated Protective Order § 1 (Dkt.
  3   No. 29), and Magistrate Judge Adler’s Chamber Rules at 3, defendant and counter
  4   claimant Acacia Communications, Inc. (“Acacia”) submits this motion to file under
  5   seal portions of the Memorandum of Points and Authorities in Support of Acacia
  6   Communication, Inc.’s Motion for Partial Summary Judgment Regarding Damages
  7   (“Acacia’s Memorandum”) and certain of the exhibits attached to the Declaration of
  8   Stuart V. C. Duncan Smith in support of that motion.
  9                                                 ARGUMENT
 10           Certain limited portions of Acacia’s Memorandum and certain of the exhibits
 11   attached to the Declaration of Stuart V. C. Duncan Smith in support of that motion
 12   contain confidential information that one or both of the parties have designated as
 13   Confidential or Highly Confidential – Attorneys’ Eyes Only under the Stipulated
 14   Protective Order (Dkt. No. 29), disclosure of which would harm the competitive
 15   standing of the parties and could be used to the parties’ competitive disadvantage
 16   outside of this case.
 17           Acacia seeks to seal the following documents:
 18           a. Portions of Acacia’s Memorandum, which contains information that ViaSat
 19               and Acacia have designated as Highly Confidential – Attorneys’ Eyes Only.
 20               These portions contain confidential business and financial information of
 21               both ViaSat and Acacia regarding product sales, royalty and other payments,
 22               contractual obligations, and the value of the technology and products at
 23               issue in this case.
 24           b. Exhibit 2 attached thereto, which is a copy of the Expert Report of Stephen
 25               D. Prowse, Ph.D., CFA, dated October 27, 2017, with Corrected
 26               Designation dated October 30, 2017, and contains information that ViaSat
 27               has designated as Highly Confidential – Attorneys’ Eyes Only and
 28               information that is Third Party Highly Confidential. Exhibit 2 contains

      Acacia Communications, Inc.’s Motion to File Under Seal Documents Associated   Case No. 3:16-CV-00463-BEN-JMA
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  1               confidential business and financial information from both parties regarding
  2               product sales, royalty and other payments, and the value of the technology
  3               and products at issue in this case. It also cites to documents produced by
  4               third parties in the course of this litigation.
  5           c. Exhibit 3 attached thereto, which is a copy of the Nondisclosure Agreement
  6               between ViaSat and Acacia dated June 10, 2009, attached to an email from
  7               Ted Gammell dated June 11, 2009, entered as Deposition Exhibit No. 85,
  8               and contains information that ViaSat has designated as Highly Confidential –
  9               Attorneys’ Eyes Only. Exhibit 3 is an agreement which contains confidential
 10               information related to the parties’ business relationship and business
 11               practices with respect to confidential information.
 12           d. Exhibit 5 attached thereto, which is a copy of Cord, Aurora, Gemini, and
 13               Polo Payments, entered as Deposition Exhibit No. 101 with attached letter
 14               from Amy M. Bailey on October 25, 2017 resending the document with a
 15               corrected confidentiality designation, and contains information that ViaSat
 16               has designated as Highly Confidential – Attorneys’ Eyes Only. Exhibit 5
 17               contains confidential financial information related to payments to ViaSat for
 18               the Cord project and from third parties related to various other projects.
 19           e. Exhibit 6 attached thereto, which is a copy of an email from Russell Fuerst,
 20               dated May 25, 2009, entered as Deposition Exhibit No. 347, and contains
 21               information that Acacia has designated as Highly Confidential – Attorneys’
 22               Eyes Only. Exhibit 6 is a Rough Order of Magnitude Schedule, Budgetary,
 23               and Resource Estimate provided by ViaSat and contains business, financial,
 24               and technical information that ViaSat identified as confidential.
 25           f. Exhibit 7 attached thereto, which is a copy of excerpts of the condensed
 26               transcript of the November 30, 2017 deposition of Stephen D. Prowse, and
 27               contains information that ViaSat has designated as Highly Confidential –
 28               Attorneys’ Eyes Only. Exhibit 7 contains discussion of the Exhibit 6 Rough

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  1               Order of Magnitude Schedule, Budgetary, and Resource Estimate as well as
  2               the business and financial information contained therein.
  3           g. Exhibit 8 attached thereto, which is a copy of the Rebuttal Expert Report
  4               Regarding Damages of Brent K. Bersin, dated November 21, 2017, and
  5               contains information that Acacia has designated as Highly Confidential –
  6               Attorneys’ Eyes Only. Exhibit 8 contains confidential business, financial,
  7               and technical information from both parties related to sales of the accused
  8               products, royalty and other payments, and the value of the technology and
  9               products at issue in this case.
 10           h. Exhibit 9 attached thereto, which is a copy of an email from Christian
 11               Rasmussen, dated September 10, 2013, entered as Deposition Exhibit No.
 12               675, and contains information that Acacia has designated as Highly
 13               Confidential – Attorneys’ Eyes Only. Exhibit 9 is an email discussing the
 14               parties’ financial information and prospective technical work and business
 15               negotiations.
 16           i. Exhibit 10 attached thereto, which is copy of ViaSat’s Second Set of
 17               Supplemental Responses to Acacia’s Interrogatory Nos. 23 and 24, dated
 18               September 6, 2017, and contains information that ViaSat has designated as
 19               Highly Confidential – Attorneys’ Eyes Only. Exhibit 10 contains
 20               information that ViaSat identified as confidential information related to
 21               ViaSat’s purported development and disclosure of the technology included
 22               in its alleged trade secrets.
 23           j. Exhibit 11 attached thereto, which is a copy of Acacia Communications,
 24               Product Family and Product Gross Margin Summary for the Quarter Ending
 25               June 2017, and contains information that Acacia has designated as Highly
 26               Confidential – Attorneys’ Eyes Only. Exhibit 11 contains detailed
 27               information about Acacia’s product revenue, costs, and margin for its
 28               various products and product families.

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  1   Acacia will electronically file a public version of Acacia’s Memorandum with the
  2   confidential information redacted. Therefore, this request is narrowly tailored to
  3   protect only the information that is confidential.
  4           While the public generally enjoys the right of access to court records, the
  5   public’s right to access to court records “is not absolute,” and documents are properly
  6   filed under seal where disclosure would harm a party by forcing it to disclose trade
  7   secrets or other valuable confidential proprietary business information. See, e.g., Nixon
  8   v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978); In re Elec. Arts, Inc., 298 F. App’x
  9   568, 569-70 (9th Cir. 2008).
 10           “Where a party shows that its documents contain sources of business
 11   information that might harm its competitive standing, the need for public access to the
 12   records is lessened.” Algarin v. Maybelline, LLC, No. 12-3000, 2014 WL690410, at *3
 13   (S.D. Cal. Feb. 21, 2014). Courts must ensure that their records are not used “as
 14   sources of business information that might harm a litigant’s competitive standing.”
 15   Nixon, 435 U.S. at 598; see also Bauer Bros. LLC v. Nike, Inc., No. 09500, 2012
 16   WL1899838, at *3-4 (S.D. Cal. May 24, 2012) (granting motion to seal non-public
 17   financial data); Davis v. Soc. Serv. Coordinators, Inc., No. 10-023 72, 2012 WL 1940677, at
 18   *3 (E.D. Cal. May 29, 2012) (noting that “[g]ood cause to seal is generally found where
 19   the disclosure of proprietary information could cause a party competitive injury”).
 20           Good cause to file under seal exists because the information Acacia seeks to seal
 21   has been identified as confidential by Acacia, ViaSat, and third parties. Publicly filing
 22   the information would prejudice Acacia and ViaSat by revealing technical and financial
 23   information that could be used for competitive advantage outside of this case.
 24   Therefore, there is good cause to seal this information.
 25                                                CONCLUSION
 26           For the foregoing reasons, Acacia respectfully requests that the Court seal the
 27   portions of Acacia’s Memorandum and the documents listed above. A Proposed
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  1   Order will be emailed to efile_benitez@casd.uscourts.gov and
  2   efile_adler@casd.uscourts.gov.
  3
  4
  5   Dated: January 17, 2018                                   Respectfully Submitted,
  6
                                                                WOLF, GREENFIELD & SACKS, P.C.
  7
                                                                By: /s/ Michael A. Albert
  8
                                                                Michael A. Albert
  9                                                             Hunter D. Keeton
                                                                Stuart V. C. Duncan Smith
 10
 11                                                             Attorneys for Defendant and Counter
                                                                Claimant Acacia Communications, Inc.
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      Acacia Communications, Inc.’s Motion to File Under Seal Documents Associated   Case No. 3:16-CV-00463-BEN-JMA
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  1
                                        CERTIFICATE OF SERVICE
  2
  3           I certify that today I served the foregoing document by CM/ECF notice of
      electronic filing upon the parties and counsel registered as CM/ECF Users. I further
  4
      certify that am causing the foregoing document to be served by electronic means via
  5   email upon counsel for ViaSat, Inc., per the agreement of counsel.
  6
  7   Date: January 17, 2018                                      /s/Michael A. Albert
                                                                  Michael A. Albert
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      Acacia Communications, Inc.’s Motion to File Under Seal Documents Associated   Case No. 3:16-CV-00463-BEN-JMA
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